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 8                      UNITED STATES DISTRICT COURT
 9                    CENTRAL DISTRICT OF CALIFORNIA
10                              WESTERN DIVISION
11   KIESA MARI SIMMONS,               ) No. 2:20-cv-11479-JDE
                                       )
12                                     )
                     Plaintiff,        ) ORDER AWARDING ATTORNEY
13                                     )
                v.                     ) FEES UNDER THE EQUAL
14                                     ) ACCESS TO JUSTICE ACT,
     KILOLO KIJAKAZI, Acting           ) 28 U.S.C. § 2412(d), AND COSTS
15   Commissioner of Social Security,  )
                                       ) UNDER 28 U.S.C. § 1920
                                       )
16                   Defendant.        )
                                       )
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           Based upon the parties’ Stipulation (Dkt. 26), IT IS ORDERED that
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     Plaintiff shall be awarded attorney’s fees and expenses of $4,300.00 under 28
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     U.S.C. § 2412(d), and no costs under 28 U.S.C. § 1920, subject to the terms of
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     the above-referenced Stipulation.
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     Dated: June 24, 2022
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25                                             JOHN D. EARLY
                                               United States Magistrate Judge
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